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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA

                                CASE NO.: 0:20-cv-61849-SMITH/VALLE

     MITCHELL WELLER, individually and on behalf of
     all others similarly situated,

            Plaintiff,

     vs.

     ENVISION PHYSICIAN SERVICES, LLC, a
     Delaware Limited Liability Company,

           Defendant.
     ___________________________________________/

                          DEFENDANT’S RESPONSE IN OPPOSITION TO
                              PLAINTIFF’S MOTION TO REMAND

            Defendant Envision Physician Services, LLC (“Envision”), by and through its undersigned

     counsel, hereby files its Response in Opposition to Plaintiff’s Motion to Remand (ECF No. 7) (the

     “Motion”) and Memorandum of Law in support thereof :

                                        MEMORANDUM OF LAW

I.          INTRODUCTION

            In Mims v. Arrow Fin. Servs., LLC, a decision cited in Plaintiff’s Complaint, the Supreme

     Court made clear that federal district courts have jurisdiction over federal claims asserted under

     the Telephone Consumer Protection Act—a federal statute. See 565 U.S. 368, 372 (2012). Indeed,

     the Supreme Court could discern “no convincing reason” to find otherwise. See id. Plaintiff

     nonetheless insists on pursuing his federal TCPA claim in state court in an attempt to evade the

     Eleventh Circuit’s decision in Glasser v. Hilton Grand Vacations Co., LLC, 948 F.3d 1301, 1314

     (11th Cir. 2020) that, if applied, would likely be fatal to Plaintiff’s claims because the system used

     to send the text messages at-issue here likely does not qualify as an automatic telephone dialing

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      system (“ATDS”) under Glasser. This is pure gamesmanship. If Plaintiff were successful here

      (he is not), he would evade unquestionable federal court jurisdiction of his claims (and, potentially,

      Eleventh Circuit case law as to the merits of those claims) by purposefully failing to allege

      “tangible and intangible harm” that he will ultimately seek to recover in the underlying state court

      matter. Envision’s Notice of Removal (ECF No. 1), however, was proper and effectively removed

      this matter to this Court—as it had the unfettered right to do. And despite his efforts to the contrary,

      Plaintiff’s Complaint also alleges the requisite concrete injury to establish Article III standing

      pursuant to the Eleventh Circuit’s guidance in Salcedo v. Hanna, 936 F.3d 1162 (11th Cir. 2019)

      and is distinguishable from the case law relied on by Plaintiff in his Motion. Consequently, the

      Court should deny Plaintiff’s Motion to Remand.

II.           FACTUAL BACKGROUND

              Plaintiff Mitchell Weller (“Plaintiff”) initiated a lawsuit in Florida state court against

      Envision by filing a Class Action Complaint and Demand for Jury Trial (the “Complaint”) on

      August 10, 2020 in the matter styled Weller v. Envision Physician Services, LLC, Case No. CACE-

      20-012992, in the Circuit Court of the Seventeenth Judicial Circuit, in and for Broward County,

      Florida (the “State Court Matter”). In his Complaint, Plaintiff brings one count against Envision

      for violations of the Telephone Consumer Protection Act, 47 U.S.C. 227(b), (the “TCPA”) on

      behalf of himself and the putative class. Plaintiff alleges that Envision has caused him and the

      putative class “injuries, including invasion of their privacy, aggravation, annoyance, intrusion on

      seclusion, trespass and conversion.” Compl. ¶ 3. Plaintiff also alleges that he “suffered a legal

      injury as a result of Defendant’s violations of the TCPA,” id. ¶ 10, and that Envision is “liable for

      damages . . . in the millions of dollars” for its purported violations of the TCPA. Id. ¶¶ 45–49.




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          On September 11, 2020, Envision filed its Notice of Removal (ECF No. 1) removing the

   State Court Matter to this Court. Plaintiff then filed his Motion on September 18, 2020, seeking

   to remand this matter back to Florida state court. In his Motion, Plaintiff argues that Envision

   “bears the burden of establishing that Plaintiff has Article III standing to remain in federal court”

   but that it cannot do so here because “the operative pleading references no tangible harm that the

   Plaintiff may have suffered as a result of Defendants unsolicited text messages.” Mot. at 5–6.

   Plaintiff’s Motion relies heavily on the decisions issued in Jenkins v. Simply Healthcare Plans,

   Inc., No. 20-22677-CIV, 2020 WL 4932105 (S.D. Fla. Aug. 17, 2020) and Mittenthal v. Fla.

   Panthers Hockey Club, Ltd., No. 20-60734-CIV, 2020 WL 3977142 (S.D. Fla. July 14, 2020) to

   support its argument that the Complaint here does not contain sufficient allegations to meet Article

   III’s standing requirements.

III.      ARGUMENT

          Plaintiff’s Motion should be denied because (1) Envision’s Notice of Removal was proper

   under 28 U.S.C. § 1446 and Envision was not required to prove Plaintiff’s standing in the Notice

   and (2) Plaintiff’s Complaint contains allegations sufficient enough to confer Article III standing

   over Plaintiff pursuant to Salcedo.

          A.      Envision’s Notice of Removal was Proper and Envision was Not Required
                  to Prove Plaintiff’s Article III Standing in the Notice.

          Envision was entitled to remove this matter to this Court because it is a “civil action brought

   in a State court of which the district courts of the United States have original jurisdiction.” 28

   U.S.C. § 1441(a). Indeed, federal district courts have original jurisdiction over all “civil actions

   arising under the Constitution, laws, or treaties of the United States,” 28 U.S.C. § 1331, and the

   State Court Matter was removable because Plaintiff’s Complaint asserts TCPA claims arising




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 under the laws of the United States. See Mims v. Arrow Fin. Servs., LLC, 565 U.S. 368, 372

 (2012). As explained by the Eleventh Circuit Court of Appeals:

         Beyond doubt, the TCPA is a federal law that both creates the claim [plaintiff] has
         brought and supplies the substantive rules that will govern the case. We find no
         convincing reason to read into the TCPA’s permissive grant of jurisdiction to state
         courts any barrier to the U.S. district courts’ exercise of the general federal-question
         jurisdiction they have possessed since 1875. We hold, therefore, that federal and
         state courts have concurrent jurisdiction over private suits arising under the TCPA.

 See id.; see also, Duran v. Wells Fargo Bank, N.A., 878 F. Supp. 2d 1312, 1315–16 (S.D. Fla.

 2012) (“It is established that federal courts have subject matter jurisdiction over TCPA claims.”).

         Moreover, Envision’s Notice of Removal complied with the requirements of 28 U.S.C. §

 1446. Section 1446(a) provides that a defendant “desiring to remove any civil action from a State

 court shall file in the district court . . . a notice of removal . . . containing a short and plain statement

 of the grounds for removal.” See also Dart Cherokee Basin Operating Co., LLC v. Owens, 574

 U.S. 81, 83 (2014). Contrary to Plaintiff’s argument (Mot. at 2–4), “alleg[ing] Plaintiff’s standing

 . . . is clearly not what the law requires.” See Gonzalez v. TCR Sports Broad. Holding, LLP, No.

 18-CV-20048, 2018 WL 4292018, at *2 (S.D. Fla. Sept. 10, 2018). Courts in this Circuit

 repeatedly hold that a notice of removal does not need to allege a plaintiff’s standing to evoke

 federal question jurisdiction. See Navtech US Surveyors USSA Inc. v. Boat/Us Inc., 2019 WL

 3219667, at *2 (M.D. Fla. July 17, 2019) (“§ 1441 does not require proof of standing”); Gonzalez,

 2018 WL 4292018, at *2 (“Before the Court now is only the argument that Defendants were

 required to allege Plaintiff’s standing in their notice of removal. That is clearly not what the law

 requires.”); Marrero v. GEICO Gen. Ins. Co., No. 12-80133-CIV, 2012 WL 13024105, at *3 (S.D.

 Fla. May 16, 2012) (“whether the plaintiff has constitutional standing to sue . . . [has] no bearing

 on the jurisdictional facts relevant to a determination of the existence of diversity jurisdiction.

 Thus, because § 1332’s requirements were satisfied, the case was removable.”). Envision’s Notice

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 of Removal adequately set forth a short and plain statement detailing that Envision was removing

 the State Court Matter to this Court because Plaintiff’s claims against it arise under the TCPA, a

 federal statute that this Court has original jurisdiction over. The Court should therefore retain

 jurisdiction over this matter.

         B.      Plaintiff’s Complaint Adequately Alleges a Concrete Injury for Article III
                 Standing.

         Even if Envision had the burden to prove standing, Plaintiff’s standing is evident from his

 pleadings. Article III standing requires a plaintiff to allege “ (1) an injury that is (2) fairly traceable

 to the defendant’s allegedly unlawful conduct and that is (3) likely to be redressed by the requested

 relief.” Lujan v. Defs. of Wildlife, 504 U.S. 555, 590 (1992) (quotation marks omitted). “An injury

 in fact must be concrete [] as opposed to being hypothetical or speculative.” Salcedo v. Hanna,

 936 F.3d 1162, 1167 (11th Cir. 2019). Plaintiff relies heavily on Mittenthal and Jenkins to argue

 that he has not adequately alleged Article III standing under Salcedo in the Complaint; however,

 those decisions are distinguishable and Plaintiff’s Complaint here complies with the requirements

 as set forth in Salcedo.

         Specifically, in Mittenthal, the defendants sought removal where the plaintiffs had alleged

 that they received various unsolicited text messages. 2020 WL 3977142 at *1. When ruling on

 plaintiff’s motion for remand, Judge Altman found that removal was improper because the

 complaint did not “explain how receiving these messages harmed Plaintiffs.” Id. In reaching that

 conclusion, Judge Altman highlighted that that the complaint did not “reference[] any tangible

 harm” nor did it reference any “wasted time []or any other intangible harm in their Complaint.”

 Id. at *8 (emphasis in original). The complaint there also did not “suggest that each message took

 the Plaintiffs at least five seconds to read” nor did it “even allege that the Plaintiffs ever read the

 messages at all.” Id. (emphasis in original). Likewise, in Jenkins, Judge Altonaga found that the

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 complaint was a “model of brevity, devoid of any allegations showing concrete harm” arising from

 the plaintiff’s “receiving [of] a single unsolicited text message.” 2020 WL 4932105, at *2. Indeed,

 like in Mittenthal, Judge Altonaga found that there were “no other allegations of tangible or

 intangible harm.” Id. (emphasis in original).

        Here, in stark contrast, and assuming the allegations in the Complaint are true for the

 purposes of Plaintiff’s Motion, Plaintiff’s Complaint does set forth concrete injury sufficient to

 meet Article III standing requirements. Unlike the complaint in Mittenthal, here it is very clear

 that Plaintiff did read the text messages purportedly sent by Envision. Plaintiff, in fact, alleges

 that he texted Envision “Stop” four times “in an attempt to opt-out of [] text communications.”

 Compl. ¶¶ 19–23. Texting “stop” four times certainly suggests that Plaintiff not only read the text

 messages, but also took a non-insignificant amount of time to respond to Envision’s purported text

 messages. This already rises to a level of concrete harm that was not present in Mittenthal or

 Jenkins. Moreover, the Complaint also sets forth various allegations of harm and damages

 sufficient to confer Article III standing. For instance, in Paragraph 3 of the Complaint, Plaintiff

 alleges that “Defendant caused thousands of unsolicited text messages to be sent to the cellular

 telephones of Plaintiff and Class Members, causing them injuries, including invasion of their

 privacy, aggravation, annoyance, intrusion on seclusion, trespass, and conversion.” (Emphasis

 added). Plaintiff also alleges that “the damages sustained by the Class are in the millions of

 dollars.” Id. ¶ 49. Stated simply, Plaintiff’s reliance on Mittenthal and Jenkins is misplaced.

 “Annoyance” and feeling forced to respond to multiple text messages over a span of several

 months are precisely the type of “allegations of wasted time [that] can state a concrete harm for

 standing purposes.” Salcedo, 936 F.3d at 1173.




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IV.          CONCLUSION

             For the foregoing reasons, Envision respectfully requests that the Court deny Plaintiff’s

      Motion and retain jurisdiction over this matter.


      Dated: October 2, 2020                                 Respectfully submitted,

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                                  CERTIFICATE OF SERVICE

         I hereby certify that on October 2, 2020, I electronically filed the foregoing with the Clerk

 of Court, using CM/ECF. I also certify that the foregoing document was served on all counsel of

 record via transmission of Notice of Electronic Filing generated by CM/ECF, or via other means

 if required.

                                                       /s/ Mark A. Salky
                                                       MARK A. SALKY




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